          Case 5:18-cr-00252-EEF-MLH Document 124 Filed 08/24/20 Page 1 of 5 PageID #: 400
AO 245B       (Rev. 09/19 - WDLA) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                                Western District of Louisiana
                                                                    Shreveport Division
             UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                   v.

                        MIKE MOSURA                                                  Case Number:            5:18-CR-00252-2
                                                                                     USM Number:             20759-035

                                                                                     Howard Lyn Lawrence, Jr
                                                                                     Defendant’s Attorney
THE DEFENDANT:
☒ pleaded guilty to count(s) 1 of the Indictment
☐ pleaded nolo contendere to count(s)
     which was accepted by the court.
☐ was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
Title & Section     Nature of Offense                                                                                 Offense Ended             Count
21:841(a)(1) and    Controlled Substance - Sell, Distribute, Or Dispense - Conspiracy To Distribute                     05/22/2018                1
846                 and To Possess With The Intent To Distribute Anabolic Steroids With Forfeiture
                    Allegations




       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐      The defendant has been found not guilty on count(s)

☐      Count(s)                                           ☐ is        ☐ are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                             August 21, 2020
                                                                            Date of Imposition of Judgment



                                                                            Signature of Judge

                                                                                           ELIZABETH E. FOOTE, United States District Judge
                                                                            Name of Judge                                             Title of Judge

                                                                                   August 24, 2020
                                                                            Date
            Case 5:18-cr-00252-EEF-MLH Document 124 Filed 08/24/20 Page 2 of 5 PageID #: 401
AO 245B         (Rev. 09/19 - WDLA) Judgment in a Criminal Case
                Sheet 4 — Probation

                                                                                                                                                            Judgment — Page 2 of 5
DEFENDANT:                         MIKE MOSURA
CASE NUMBER:                       5:18-CR-00252-2

                                                                               PROBATION
You are hereby sentenced to supervised probation for a term of : three (3) years as to Count 1

                                                          MANDATORY CONDITIONS (MC)
1.        You must not commit another federal, state or local crime.
2.        You must not unlawfully possess a controlled substance.
3.        You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
           imprisonment and at least two periodic drug tests thereafter, as determined by the court.
4.        ☐ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
               substance abuse. (check if applicable)
5.        ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.        ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901,et
              seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside,
              work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.        ☐ You must participate in an approved program for domestic violence. (check if applicable)
8.        ☐ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
9.        ☒ The passport restriction imposed at the time of initial release is hereby suspended, and defendant’s passport is ordered released to
              defendant’s attorney. (check if applicable)
10.       ☐ The passport restriction imposed at the time of initial release is continued, and defendant’s passport is ordered transferred to the
              U. S. Department of State. (check if applicable)
11.       You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
12.       If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
13.       You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
          page.
                                           STANDARD CONDITIONS OF SUPERVISION (SC)
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.
     1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time you were sentenced, unless the
            probation officer instructs you to report to a different probation office or within a different time frame.
     2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must report to the
            probation officer, and you must report to the probation officer as instructed.
     3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or the probation officer.
     4.     You must answer truthfully the questions asked by your probation officer.
     5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such as the people you
            live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to unanticipated
            circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
     6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any items prohibited by
            the conditions of your supervision that he or she observes in plain view.
     7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If you do not have full-
            time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you plan to change where you work or anything
            about your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation
            officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
            change or expected change.
     8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a felony, you must not
            knowingly communicate or interact with that person without first getting the permission of the probation officer.
   9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
  10.       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or was modified for,
            the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
  11.       You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting the permission of the
            court.
  12.       If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you to notify the person about
            the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you have notified the person about the risk.
  13.       You must follow the instructions of the probation officer related to the conditions of supervision.
U. S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment containing
these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions, available at:
www.uscourts.gov.

Defendant’s Signature _________________________________________________________________                                           Date __________________________________
          Case 5:18-cr-00252-EEF-MLH Document 124 Filed 08/24/20 Page 3 of 5 PageID #: 402
AO 245B    (Rev. 09/19 - WDLA) Judgment in a Criminal Case
           Sheet 4D — Probation

                                                                                                        Judgment — Page 3 of 5
DEFENDANT:                  MIKE MOSURA
CASE NUMBER:                5:18-CR-00252-2


                                    SPECIAL CONDITIONS OF SUPERVISION (SP)
                  1) The defendant shall be subject to financial disclosure throughout the period of
                     supervision, and shall provide U. S. Probation with all requested financial
                     documentation. The defendant shall report all household income to U. S.
                     Probation as requested. The defendant is prohibited from incurring new credit
                     charges or opening lines of credit without approval of the probation officer.
                  2) If the fine is not paid immediately, the defendant shall make monthly
                     installments of not less than $100.00. Payment shall begin within 30 days of the
                     date of this judgment.
          Case 5:18-cr-00252-EEF-MLH Document 124 Filed 08/24/20 Page 4 of 5 PageID #: 403
AO 245B    (Rev. 09/19 - WDLA) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties

                                                                                                                           Judgment — Page 4 of 5
DEFENDANT:                  MIKE MOSURA
CASE NUMBER:                5:18-CR-00252-2

                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                Restitution              Fine              AVAA Assessment*             JVTA Assessment**
TOTALS                 $100.00                     $.00              $3,600.00                    $.00                         $.00

☐      The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

☐      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
       in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
       paid before the United States is paid.




☐     Restitution amount ordered pursuant to plea agreement $

☐     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☒     The court determined that the defendant does not have the ability to pay interest and/or penalties and it is ordered that:
      ☒ the interest and/or ☒ penalty requirement is waived for the              ☒ fine     ☐ restitution.
      ☐ the interest and/or ☐ penalty requirement for the ☐ fine               ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299..
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
          Case 5:18-cr-00252-EEF-MLH Document 124 Filed 08/24/20 Page 5 of 5 PageID #: 404
AO 245B    (Rev. 09/19 - WDLA) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                                                     Judgment — Page 5 of 5
DEFENDANT:                  MIKE MOSURA
CASE NUMBER:                5:18-CR-00252-2



                                                      SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
 A   ☒      Lump sum payment of $         3,700.00                due immediately, balance due

            ☐     not later than                                      , or
            ☐     in accordance         ☐ C,        ☐        D,   ☐      E, or ☐ F below; or
 B   ☐      Payment to begin immediately (may be combined with                  ☐ C,         ☐ D, or           ☐ F below); or
 C   ☐      Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D   ☐      Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or
 E   ☐      Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
 F    ☒ Special instructions regarding the payment of criminal monetary penalties: If the fine is not paid immediately, the defendant shall
            make monthly installments of not less than $100.00. Payment to begin within 30 days of the date of this judgment.
            The Court orders that any federal income tax refund payable to the defendant from the Internal Revenue Service will be turned
            over to the Clerk of Court and applied toward any outstanding balance with regard to the outstanding financial obligations
            ordered by the Court.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court, or, unless ordered otherwise, criminal debt payment may be
 made online at www.lawd.uscourts.gov/fees. Scroll down and click the Criminal Debt (Restitution and Fines) hyperlink to proceed to the
 secure online payment form.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
 ☐ Joint and Several
     ☐Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.



     ☐The Court gives notice this case involves other defendants who may be held jointly and several liable for payment of all or part of the
     restitution ordered herein and may order such payment in the future.

 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☒ The defendant shall forfeit the defendant’s interest in the following property to the United States:
     The Final Judgment of Forfeiture was signed on 1/30/2020.
 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
